CM/ECF-GA Northern District Court                                     https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?105182813936775...




                                     UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION
                                                 1:21-cr-00231-TCB-CMS
                                                     USA v. Lewis et al
                                               Honorable Catherine M. Salinas

                                    Minute Sheet for proceedings held In Open Court on 12/23/2022.


              TIME COURT COMMENCED: 11:30 A.M.
                                                                   COURT REPORTER: Monty Vann
              TIME COURT CONCLUDED: 1:00 P.M.
                                                                   TAPE NUMBER: Zoom
              TIME IN COURT: 1:30
                                                                   DEPUTY CLERK: Angela Smith
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):         [2]Jack Fisher NOT Present at proceedings
         ATTORNEY(S) PRESENT: Grace Albinson representing USA
                              Russ Ferguson representing Jack Fisher
                              Christopher Huber representing USA
                              Jessica Kraft representing USA
                              Richard Rolwing representing USA
                              Nicholas Schilling representing USA
                              Brett Switzer representing Jack Fisher
                              Parker Tobin representing USA
         PROCEEDING CATEGORY: Motion Hearing(Oral Argument Hearing);
         MOTIONS RULED ON:    DFT#2-[214]Motion to Suppress TAKEN UNDER ADVISEMENT
         MINUTE TEXT:         Oral argument heard on the motion.




1 of 1                                                                                                             12/29/2022, 12:43 PM
